    Case 4:23-cr-00218       Document 21       Filed on 08/29/23 in TXSD          Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

UNITED STATES OF AMERICA      §
                              §
vs.                           §                     CRIMINAL NO. 4:23-cr-218
                              §
HARDIK JAYANTILAL and         §
DHIRENKUMAR VISHNUBHAI PATEL, §
                              §
          Defendants.         §

                                NOTICE OF APPEARANCE

        COMES NOW Francie Trimble and hereby files this Notice of Appearance as counsel for

Defendant Hardik Patel.

                                            Respectfully submitted,

                                            By:     /s/ Francie Trimble
                                                    Francie Trimble
                                                    State Bar No. 24126448
                                                    811 Main Street, suite 2500
                                                    Houston, TX 77002
                                                    (713) 244-8205
                                                    francie.trimble@hklaw.com


                                CERTIFICATE OF SERVICE

        I certify that a copy of the above and foregoing document was served via ECF on this

29th day of August, 2023.

                                                    /s/ Francie Trimble
                                                    Francie Trimble




#227658785_v1
